                                                                Case 18-21663-EPK            FORM
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES

Case No.:                      18-21663                                                                                                                  Trustee Name:                            Nicole Testa Mehdipour, Trustee
Case Name:                     FUFU INTERNATIONAL LLC                                                                                                    Date Filed (f) or Converted (c):         09/21/2018 (f)
For the Period Ending:          03/31/2019                                                                                                               §341(a) Meeting Date:                    10/29/2018
                                                                                                                                                         Claims Bar Date:
                                   1                                                     2                             3                           4                        5                                         6

                      Asset Description                                          Petition/                    Estimated Net Value               Property              Sales/Funds                Asset Fully Administered (FA)/
                       (Scheduled and                                          Unscheduled                   (Value Determined by               Abandoned             Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                       Value                             Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                            Less Liens, Exemptions,
                                                                                                               and Other Costs)

Ref. #
1        Bank of America (0103)                                                          $133.57                               $133.57                                          $133.57                                           FA
2        Bank Of America (9767)                                                              $75.25                            $115.35                                            $0.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                      Gross Value of Remaining Assets
                                                                                         $208.82                                $248.92                                         $133.57                                       $0.00



Major Activities affecting case closing:
 02/28/2019     The Trustee is investigating business financial affairs of the Debtor.


Initial Projected Date Of Final Report (TFR):            12/31/2020                                Current Projected Date Of Final Report (TFR):                                /s/ NICOLE TESTA MEHDIPOUR, TRUSTEE
                                                                                                                                                                                NICOLE TESTA MEHDIPOUR, TRUSTEE
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                                                                                        FORM 2                                                                              Page No: 1
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        18-21663                                                                                              Trustee Name:                            Nicole Testa Mehdipour, Trustee
Case Name:                      FUFU INTERNATIONAL LLC                                                                                Bank Name:                               Green Bank
Primary Taxpayer ID #:          **-***9481                                                                                            Checking Acct #:                         ******6301
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:           04/01/2018                                                                                            Blanket bond (per case limit):           $135,654,000.00
For Period Ending:              03/31/2019                                                                                            Separate bond (if applicable):


     1                2                         3                                                      4                                                      5                      6                    7

Transaction      Check /                     Paid to/                          Description of Transaction                               Uniform          Deposit               Disbursement            Balance
   Date           Ref. #                  Received From                                                                                Tran Code           $                        $


10/05/2018                  Bank Of America                            Close out of two bank accounts. (9767 and 0103).                    *                  $248.92                      $0.00                 $248.92
                     {1}                                                                                                  $133.57      1129-000                                                               $248.92
                                                                                                                          $115.35      1129-000                                                               $248.92

                                                                                         TOTALS:                                                                  $248.92                   $0.00                $248.92
                                                                                             Less: Bank transfers/CDs                                               $0.00                   $0.00
                                                                                         Subtotal                                                                 $248.92                   $0.00
                                                                                             Less: Payments to debtors                                              $0.00                   $0.00
                                                                                         Net                                                                      $248.92                   $0.00




                     For the period of 04/01/2018 to 03/31/2019                                                      For the entire history of the account between 10/04/2018 to 3/31/2019

                     Total Compensable Receipts:                           $248.92                                   Total Compensable Receipts:                                         $248.92
                     Total Non-Compensable Receipts:                         $0.00                                   Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                         $248.92                                   Total Comp/Non Comp Receipts:                                       $248.92
                     Total Internal/Transfer Receipts:                       $0.00                                   Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                        $0.00                                   Total Compensable Disbursements:                                     $0.00
                     Total Non-Compensable Disbursements:                    $0.00                                   Total Non-Compensable Disbursements:                                 $0.00
                     Total Comp/Non Comp Disbursements:                      $0.00                                   Total Comp/Non Comp Disbursements:                                   $0.00
                     Total Internal/Transfer Disbursements:                  $0.00                                   Total Internal/Transfer Disbursements:                               $0.00
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                                                                                       FORM 2                                                                   Page No: 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        18-21663                                                                                      Trustee Name:                         Nicole Testa Mehdipour, Trustee
Case Name:                      FUFU INTERNATIONAL LLC                                                                        Bank Name:                            Green Bank
Primary Taxpayer ID #:          **-***9481                                                                                    Checking Acct #:                      ******6301
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:           04/01/2018                                                                                    Blanket bond (per case limit):        $135,654,000.00
For Period Ending:              03/31/2019                                                                                    Separate bond (if applicable):


    1                2                           3                                                    4                                             5                     6                    7

Transaction      Check /                     Paid to/                         Description of Transaction                        Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                    $


                                                                                                                                                                              NET               ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                     $248.92                    $0.00                 $248.92




                     For the period of 04/01/2018 to 03/31/2019                                               For the entire history of the account between 10/04/2018 to 3/31/2019

                     Total Compensable Receipts:                          $248.92                          Total Compensable Receipts:                                       $248.92
                     Total Non-Compensable Receipts:                        $0.00                          Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                        $248.92                          Total Comp/Non Comp Receipts:                                     $248.92
                     Total Internal/Transfer Receipts:                      $0.00                          Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                       $0.00                          Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:                   $0.00                          Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                     $0.00                          Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:                 $0.00                          Total Internal/Transfer Disbursements:                              $0.00




                                                                                                                                               /s/ NICOLE TESTA MEHDIPOUR, TRUSTEE
                                                                                                                                               NICOLE TESTA MEHDIPOUR, TRUSTEE
